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                            THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 SUNOCO PIPELINE, L.P.,

                         Plaintiff,

               v.                                       Case No. 1:21-cv-01760-TSC

 U.S. DEPARTMENT OF
 TRANSPORTATION, et al.,

                         Defendants.



                                       JOINT STATUS REPORT
          Under this Court’s November 3, 2023 Minute Order, the parties submit this joint status

report:

          1.        Sunoco filed this reverse-FOIA case on June 30, 2021, and Defendants subse-

quently filed a Motion to Dismiss. See Compl., ECF No. 1; Mot. to Dismiss, ECF No. 12-1.

On September 29, 2023, the Court entered an Order denying the Motion to Dismiss in part.

ECF No. 31.

          2.        In light of the Court’s ruling, and case law bearing on the legal issues here, the

government sought—with Sunoco’s consent—a stay of this litigation and a voluntary remand

for the agency to reconsider its decision. See Consent Mot. for Voluntary Remand, ECF

No. 33. The Court granted that motion, stayed the case, and ordered the parties to file a Joint

Status Report by February 1, 2024 and every 90 days thereafter. Order, ECF No. 34; Minute

Order (Nov. 3, 2023).

          3.        The agency is currently reviewing Sunoco’s submitted materials. The volun-

tary-remand proceedings therefore remain ongoing. In accordance with the Court’s order,

the parties intend to file a further joint status report on October 29, 2024.



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DATED: July 30, 2024                               Respectfully submitted,

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